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10
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11                                                   University of California
12
                                   UNITED STATES DISTRICT COURT
13
            NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
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     SOFIE KARASEK, individually;               )   Case No: 3:15-cv-03717-WHO
16   NICOLLETTA COMMINS, individually;          )
     ARYLE BUTLER, individually;                )   JOINT STIPULATION FOR
17                                              )   DISMISSAL WITH PREJUDICE
                     Plaintiffs,                )
18                                              )
             vs.                                )
19                                              )
     THE REGENTS OF THE UNIVERSITY              )
20   OF CALIFORNIA, a public entity, and        )   Judge: Hon. William H. Orrick
     DOES 1 through 100, inclusive,             )
21                                              )
                      Defendants.               )
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                    JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE
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 1                 JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE
 2          Plaintiffs Sofie Karasek and Nicoletta Commins (“Settling Plaintiffs”), and Defendant

 3   Regents of the University of California, acting through counsel, and pursuant to Federal Rule of

 4   Civil Procedure 41(a)(1)(A)(ii) hereby stipulate, in consideration of a negotiated settlement

 5   executed by them, to the Dismissal With Prejudice of the Settling Plaintiffs’ respective actions

 6   with each party to bear its own attorney's fees and costs.

 7

 8
     Date: July 1, 2022                            THE ZALKIN LAW FIRM, P.C.
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10
                                                   By:     /s/ Alexander S. Zalkin
11                                                         Alexander S. Zalkin
                                                           Attorney for Plaintiffs
12

13   Date: July 1, 2022                            MUNGER, TOLLES & OLSON LLP

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15                                                 By:     /s/ Hailyn Chen
                                                           Hailyn Chen
16                                                         Attorney for Defendant

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                    JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE
           Case 3:15-cv-03717-WHO Document 192 Filed 07/01/22 Page 3 of 3



 1                                            Signature Attestation
 2           Pursuant to Local Rule 5-1(i)(3), I, Alexander S. Zalkin, hereby attest that all other signatories
 3   listed and on whose behalf this filing is submitted have authorized this filing and concur in its content.
 4

 5            Dated: July 1, 2022                             By:     /s/ Alexander S. Zalkin
                                                                      Alexander S. Zalkin
 6                                                                    Attorney for Plaintiff
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                    JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE
